445 F.2d 864
    UNITED STATES of America, Plaintiff-Appellee,v.Burris BURKETT, Defendant-Appellant.No. 30636 Summary Calendar.**Rule 18, 5th Cir.; See Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    July 26, 1971, Rehearing Denied Aug. 27, 1971.
    
      Ian F. Gaston, Mobile, Ala.  (Court-appointed), for defendant-appellant.
      C. S. White-Spunner, Jr., U.S. Atty., Irwin W. Coleman, Jr., Asst. U.S. Atty., Mobile, Ala., for plaintiff-appellee.
      Appeal from the United States District Court for the Southern District of Alabama; Virgil Pittman, District Judge.
      Before THORNBERRY, MORGAN and CLARK, Circuit Judges.
      PER CURIAM:
    
    Affimed.  See Local Rule 21.1
    
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    